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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY                                                    Order Filed on December 7, 2017
Caption in Compliance with D.N.J. LBR 9004-1(b)                           by Clerk U.S. Bankruptcy Court
                                                                               District of New Jersey

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In re:                                              Chapter 11

AMG INTERNATIONAL, INC.,                            Case No. 17-25816 (JKS)

                         Debtor.


AMG INTERNATIONAL, INC.,                           Adv. Proc. No. 17-01676 (JKS)

         Plaintiff,

v.

ELECTRO MECHANICAL INDUSTRIES (PTE)
LTD.,

         Defendant.


        ORDER GRANTING PLAINTIFF’S MOTION FOR TEMPORARY
     RESTRAINING ORDER AND FOR PRELIMINARY INJUNCTION WHILE
                  PRESERVING STATUS QUO RIGHTS

         The relief set forth on the following pages, numbered two (2) through eight (8) is hereby
 DATED: December 7, 2017
ORDERED.




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Debtor:                   AMG International, Inc.
Case No.:                 17-25816-JKS
Caption of Order:         Order Granting Motion For Temporary Restraining Order and For
                          Preliminary Injunction While Preserving Status Quo Rights
____________________________________________

        This matter having been brought before the Court on October 24, 2017 at 12:00 p.m. upon

the Plaintiff’s Verified Adversary Complaint [ECF No. 1]1 (“Complaint”), and scheduled hearing

(“Hearing”) on the Plaintiff’s Motion for Temporary Restraining Order and for Preliminary

Injunction [ECF No. 2] (“Motion”); and the Plaintiff having properly served the Defendant with

copies of the Complaint and Motion in accordance with this Court’s Order Shortening Time Period

For Notice, Setting Hearing and Limiting Notice [ECF No. 5], as evidenced by the Certificate of

Service [ECF No. 6] filed with the Court; and the Court having considered the Defendant’s Brief

in Opposition to Motion for Temporary Restraining Order and for Preliminary Injunction [ECF

No. 7] and the Plaintiff’s Response in Opposition to Defendant’s Objection to Motion for

Temporary Restraining Order and for Preliminary Injunction [ECF No. 8]; and the Court having

reviewed the pleadings, including having heard presentations of counsel, and based on the entire

record of the Hearing held on October 24, 2017,

IT IS HEREBY ORDERED:

        1.       The Motion is GRANTED as set forth herein.

        2.       2.       The Defendant is directed to turn over the following (collectively, the

“Molds”): (a) those molds identified on “Schedule B” to the letter dated February 4, 2013 (the

“2013 Letter”), a copy of which is attached to this Order as Exhibit “A”, which the Defendant

executed and acknowledged the Debtor’s ownership in such molds, and (b) any other molds in the



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 References to ECF No. are to electronic docket entries contained on the docket in the above-styled adversary
proceeding.
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possession of the Defendant in which the Defendant does not claim an ownership interest. The

turnover of the Molds shall occur on the following terms and conditions:

                (a)     the Defendant shall, starting December 15, 2017 and no later than December

                        18, 2017 and at its own cost, transfer those Molds identified by the Plaintiff

                        as being “priority Molds” (the “Priority Molds”) to a facility located at No.

                        28 Quanwang Road,Wuquing Economic Development Area, Tianjin City,

                        China (the “Leased Premises”) for retrieval by DSV Air & Sea Co., Ltd.

                        (“DSV”). The Plaintiff estimates that the Priority Molds comprise 200-300

                        of the molds, and the Plaintiff shall provide the Defendant with a list of the

                        Priority Molds as soon as available. Upon relocation of the Priority Molds

                        to the Leased Premises, the Defendant shall grant DSV immediate access to

                        the Leased Premises and immediately tender possession of the Priority

                        Molds to DSV for delivery to DSV’s warehouse located at 120# Lingang

                        Road, Tanggu Bonded Area, Tianjin City, China (the “DSV Warehouse”).

                        Following DSV’s retrieval of the Priority Molds from the Leased Premises,

                        the Defendant shall, no later than December 22, 2017 and at its own cost,

                        relocate the remaining Molds to the Leased Premises, at which time the

                        Defendant shall grant DSV access to the Leased Premises for purposes of

                        taking possession of the remaining Molds and transporting the remaining

                        Molds to the DSV Warehouse.           DSV shall use its own trucks for

                        transporting the Molds to the DSV Warehouse at which time DSV shall

                        unload the Molds. In tendering possession of the Molds, the Defendant

                        shall take whatever actions are reasonably necessary and required to

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                        facilitate the turnover of the Molds, including, without limitation, granting

                        DSV reasonable access to the Molds during normal business hours, unless

                        otherwise agreed in advance in writing by the Plaintiff, Defendant and DSV,

                        for purposes of taking possession of the Molds subject, however, to SCC

                        providing reasonable evidence of insurance to cover any damage, injury or

                        other loss which may be incurred in connection with the foregoing. The

                        Defendant shall provide sufficient evidence of insurance to cover any

                        damage, injury or loss to Molds at all times during (i) the retrieval of the

                        Molds from the Defendant’s premises to the Leased Premises, and (ii) while

                        the Molds are located at the Leased Premises;

                (b)     DSV shall prepare packing lists indicatingreferences to the Molds in

                        relation to pallet numbers at the time possession of the Molds is tendered

                        by the Defendant. Representatives of the Defendant and the Plaintiff (or its

                        designee) shall have the right to be present at the time (i) the Molds are

                        transported from the Defendant’s factory to the Leased Premises, and (ii)

                        DSV retrieves the Molds from the Leased Premises;

                (c)     The Plaintiff or its designee shall identify any Molds to be transported from

                        the DSV Warehouse to the Sports Cups Components (“SCC”) factory (the

                        “SCC Factory”). Molds located at the SCC Factory shall be covered by

                        SCC’s insurance. Molds remaining at the DSV Warehouse shall be insured

                        by insurance to be procured from China Life in the amount of $500,000.00.

                        The Plaintiff and SCC shall enter into an agreement pertaining to the Molds,

                        which will provide, in part, for SCC to procure and maintain appropriate

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                        insurance and authorize SCC to use the Molds for purposes of

                        manufacturing product for the Plaintiff.

                (d)     The Plaintiff shall be responsible, at its sole expense, for (i) the costs

                        incurred by DSV in retrieving, transporting and storing the Molds, and (ii)

                        the costs of insurance procured by SCC.

                (e)     Turnover of the Molds by the Defendant in accordance with this Order shall

                        in no way constitute a waiver of any right or claim by the Defendant to a

                        possessory lien or other secured interest in the Molds under U.S. or Chinese

                        law, and any valid right or claim by the Defendant to lien or other secured

                        interest which is premised on possession of the Molds shall not be

                        prejudiced through turnover of the Molds in accordance with this Order;

                        provided, however, the foregoing shall be subject to, and without waiver of,

                        any claims, objections and defenses of the Plaintiff and any party holding

                        or otherwise asserting a lien against the Molds, including, without

                        limitation, France Sport, S.A.;

                (f)     The Court shall retain exclusive jurisdiction in the event of any dispute

                        between the Plaintiff and Defendant over ownership of any other molds in

                        the possession of the Defendant, and the entry of this Order shall not

                        constitute or be deemed a waiver of the rights, claims, objections and

                        defenses of any party asserting any ownership interest or lien in such molds;

                (g)     Upon entry of this Order, the Plaintiff shall immediately deposit the sum of

                        $35,000.00 into the trust account of Seese, P.A., to be held in escrow for

                        purposes of providing additional adequate protection for the benefit of the

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                        Defendant in the event of any damage or loss to the Molds either in transit

                        to, or while in the possession of, DSV and/or SCC, pending a determination

                        by the Court of any possessory lien rights in favor of the Defendant. The

                        Plaintiff shall provide the Defendant with evidence that sufficient funds

                        have been deposited in accordance with this Paragraph 2(g);

                (h)     The Defendant shall be named an additional insured in the event of any

                        insurance which may apply to any claims for damage, destruction or loss to

                        the Molds pending a determination by the Court of any possessory lien

                        rights in favor of the Defendant, and, in the event of such coverage, the

                        Plaintiff shall provide the Defendant with a copy of such insurance policy

                        or other evidence reasonably demonstrating the naming of the Defendant

                        as an additional insured under the policy within thirty (30) days of the date

                        of entry of this Order. Likewise, the Plaintiff shall be named an additional

                        insured on any policy of insurance covering the Molds while located within

                        the Leased Premises;

                (i)     SCC shall agree, in writing, that any lien in its favor against the Molds, shall

                        be subordinate to any lien in favor of the Defendant, and the Plaintiff shall

                        provide the Defendant with a copy of such written subordination agreement

                        or acknowledgment within ten (10) days of the date of entry of this Order;

                (j)     The Defendant shall have reasonable rights of inspection of the Molds at

                        the time (i) possession of the Molds is tendered to DSV; and (ii) at the time

                        any of the Molds are transported and offloaded at the SCC Factory. The

                        Plaintiff shall have reasonable rights of inspection of the Molds at the time

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                          (i) the Molds are retrieved from the Defendant’s factory; and (ii) the Molds

                          are retrieved from the Leased Premises; and

                   (k)    France Sport, S.A. shall acknowledge, in writing, that the surrender of

                          possession of the Molds by the Defendant shall not diminish any lien rights

                          held by the Defendant, if any, as of the date of this Order.               Such

                          acknowledgement shall in no way be construed an admission by France

                          Sport S.A. that Defendant holds any lien rights, nor a waiver of the assertion

                          by France Sport that it holds a lien on the Molds superior in priority to that

                          of the Defendant. The Plaintiff shall provide the Defendant with a copy of

                          such written agreement or acknowledgment within ten (10) days of the date

                          of entry of this Order;

         3.        Pending the turnover of the Molds to the Plaintiff or its designee, the Defendant

and its officers, directors, shareholders, partners, employees, subsidiaries, affiliates, agents and

those acting at the direction of, or in active concert or participation with, any of the foregoing or

receiving a copy of this Order (collectively, the “Restrained Parties”) are hereby prohibited and

enjoined from using, selling, transferring, encumbering or otherwise assigning any and all of the

Molds.        To give effect to the foregoing, this Order shall have full legal force and effect of a

temporary restraining order and preliminary injunction.

         4.        The Court shall conduct a separate hearing, evidentiary if necessary, in order to

determine the extent, validity and priority of any possessory liens in favor of the Defendant against

the Molds and shall further retain jurisdiction to interpret, enforce and adjudicate any disputes

pertaining to the terms and conditions of this Order. The entry of this Order is without prejudice




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to, or waiver of, any rights, claims, objections or defenses in favor of, or in opposition to, any such

possessory liens. The separate hearing shall be scheduled by separate notice of the Court.

        5.        The Plaintiff is directed to file and serve opposition papers, including, without

limitation, any memorandum of law, against any possessory liens in favor of the Defendant, no

later than January 5, 2018. The Defendant shall then file and serve papers, including, without

limitation, any memorandum of law, in favor of any possessory liens, no later than January 16,

2018.    The Plaintiff shall then have the right, in its sole discretion, to file any reply to the

Defendant’s response no later than January 23, 2018. France Sport, S.A. and the Official

Committee of Unsecured Creditors shall be entitled to file any papers, including, without

limitation, memoranda of law, either in support of, or in opposition to, any possessory liens rights

in favor of the Defendant, no later than January 23, 2018. The Court shall then conduct a hearing

as contemplated by Paragraph 3 of this Order on January 30, 2018 at 2:00 p.m. at 50 Walnut

Street, Courtroom 3D, Newark, New Jersey, 07102.

        6.        The entry of this Order is without prejudice to or waiver of any remaining relief

sought in the Adversary Complaint, as well as any defenses or objections of the Defendant.

        7.        Counsel for Plaintiff shall serve a copy of this Order upon all parties in attendance

at the Hearing.




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